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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

        FIRST MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. FOR
          ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
              CO-COUNSEL TO THE DEBTOR FOR THE PERIOD FROM
                DECEMBER 2, 2022 THROUGH DECEMBER 31, 2022

    Name of Applicant:             Crowe & Dunlevy, P.C.
    Applicant’s Role in Case:      Co-Counsel to Debtor
    Date Order of Appointment January 20, 2023 (Dkt #104)
    Signed:
                                       Beginning of Period           End of Period
    Time Period Covered in         12/02/2022                 12/31/22
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $169,819.201
                                                              (80% of $212,274.00)
    Total Reimbursable Expenses Requested in this Statement: $3,878.922
               Summary Attorney Fees for the Period Covered by this Statement
    Attorneys Fees in this Statement:                         $212,274.00
    Total Actual Attorneys Hours Covered by this Statement: 353.40
    Average Hourly Rate for Attorneys:                        $676.89
            Summary Paraprofessional Fees for the Period Covered by this Statement
    Paraprofessional Fees Requested in this Statement:        $11,741.00
    Total Actual Paraprofessional Hours Covered by this 39.80
    Statement:
    Average Hourly Rate for Paraprofessionals:                $295.00




1
  Counsel is holding $451,807.00 as a retainer in its IOLTA Account which is included in this fee/expense request.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.

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            In accordance with the Order Granting Motion for Entry of an Order
            Establishing Procedures for Interim Compensation and Reimbursement
            of Expenses for Chapter 11 Professionals [Docket No. #106], each party
            receiving notice of the monthly fee statement will have 14 days after
            service of the monthly fee statement to object to the requested fees and
            expenses. Upon the expiration of such 14 day period, the Debtor is
            authorized to pay the Professional an amount of 80% of the fees and
            100% of the expenses requested in the applicable monthly fee
            statement.

       Pursuant §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], Crowe & Dunlevy, P.C. (“C&D”), as co-counsel to the

Debtor, hereby files its First Monthly Fee Statement of Crowe & Dunlevy, P.C. for Allowance of

Compensation for Services Rendered as Co-Counsel to the Debtor for the Period from December

2, 2022 through December 31, 2022 (the “Monthly Fee Statement”).

                                   RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

C&D seeks interim payment of $169,819.20 (80% of 212,274.00) as compensation for

professional services rendered to the Debtor during the period from December 2, 2022 through

December 31, 2022 (the “Fee Period”); and reimbursement of actual and necessary expenses in

the amount of $3,878.92, for a total amount of $173,698.12 to be paid upon expiration of the

objection deadline barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, C&D submits a Summary of Expenses for

the Fee Period, attached hereto as Exhibit A, a Summary of Legal Fees by Category as Counsel


FIRST MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 2
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for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as Co-Counsel for the

Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),

and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Proposed Counsel to the Official Committee of Unsecured
                       Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                       New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                       Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                       dzensky@akingump.com, mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.



FIRST MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 3
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In light of the nature of the relief requested herein, C&D submits that no further or other notice is

required.

           4.       Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. C&D reserves the right to

make further application to this Court for allowance of such fees and expenses not included herein.

Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code, the

Bankruptcy Rules, and the Interim Compensation Order.

           5.       Therefore, C&D respectfully submits support for its fees in the amount of

$212,274.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $3,878.92 for reasonable, actual and necessary expenses incurred during

the Fee Period. C&D further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to C&D the amount of $173,698.123 which

is equal to the sum of 80% of C&D’s fees and 100% of C&D’s expenses incurred during the Fee

Period.




3
    Such payment to be made first from any existing retainer funds held by C&D for the Debtor.

FIRST MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 4
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Houston, TX
Dated: January 27, 2023

                                         CROWE & DUNLEVY, P.C.

                                         By: /s/ Christina W. Stephenson
                                         Vickie L. Driver
                                         State Bar No. 24026886
                                         Christina W. Stephenson
                                         State Bar No. 24049535
                                         2525 McKinnon St., Suite 425
                                         Dallas, TX 75201
                                         Telephone: 737.218.6187
                                         Email: dallaseservice@crowedunlevy.com

                                         ATTORNEYS FOR DEBTOR ALEXANDER
                                         E. JONES




FIRST MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 5
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                               CERTIFICATE OF SERVICE

I certify that on January 27, 2023, a true and correct copy of the foregoing pleading was served
upon the parties listed on the attached service list via the Court’s ECF system and pursuant to
Local Rule 9003-1, via e mail or U.S. mail as follows:

              a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

              b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

              c.      Proposed Counsel to the Official Committee of Unsecured
                      Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                      New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                      Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                      dzensky@akingump.com, mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

              d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

              e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

              f.      Any other parties that the Court may designate.


                                            /s/ Christina W. Stephenson
                                                Christina W. Stephenson




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                                   EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                          EXPENSE                               TOTAL
Filing Fees                                                     $1,738.00
Legal Pro Systems for Opening Bankruptcy Case                     85.52
Ground Transportation                                             20.92
Lodging/Travel                                                   2034.48




FIRST MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 7
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                                     EXHIBIT “B”
          SUMMARY OF LEGAL FEES AND EXPENSES BY CATEGORY
                        FOR THE FEE PERIOD

CATEGORIES                                ATTORNEY TIME   PARALEGAL TIME

B110 Case Administration                       119.70           33.60
B120 Asset Analysis and Recovery                32.30            0.00
B130 Asset Disposition                           0.00           0.00
B140 Relief from Stay/Adequate
Protection                                     17.90             3.50
B150 Meetings of & Communications with
Creditors                                      13.30             0.00
B160 Fee/Employment Applications               45.70             1.90
B170 Fee/Employment Objections                  0.00             0.00
B180 Avoidance Action Analysis                  0.00             0.00
B185 Assumption/Rejection of Executory
Contracts                                      14.90              .70
B190 Other Contested Matters                   24.80             0.00
B195 Non-Working Travel                        11.10             0.00
B210 Business Operations                       13.60             0.00
B220 Employee Benefits/Pensions                 0.00             0.00
B230 Financing/Cash Collections                12.30             0.00
B240 Tax Issues                                 3.90             0.00
B250 Real Estate                                0.00
B260 Board of Directors Matters                 0.00
B310 Claims Administration and
Objections                                      1.30             0.00
B320 Plan and Disclosure Statement              2.80              .10
B410 General Bankruptcy
Advice/Opinions                                 0.00            0.00
B420 Restructurings                             0.00             0.00
TOTALS:                                        313.60           39.80




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                              EXHIBIT “C”

        DETAILED RECORD OF FEES FOR THE FEE PERIOD




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                                        2525 MCKINNON, SUITE 425
                                            DALLAS, TX 75201
                                              (214) 420-2163
                                           TAX I.D. NUMBER XX-XXXXXXX




                                                                                                     January 27, 2023
                                                                                                     Invoice # 748460
 Alex "AJ" Jones
 ATTN: Shelby A. Jordan                                                                         Responsible Attorney
 6207 Bee Cave Road, Suite 120                                                                      Vickie L. Driver
 Austin, TX 78746


 Client #           50134
 Matter #           00802

 Post – Petition


                                          INVOICE SUMMARY

Current Invoice Total Fees                                                                         $212,274.00
Current Invoice Total Expenses                                                                        $3,878.92
Current Invoice Total                                                                              $216,152.92




                                              Payment Instructions

  Check Remittance:                            Credit Card Remittance:                              Wire Remittance:

  Mail To:                           https://www.crowedunlevy.com/makeapayment/                 Bank Name: BancFirst
  Crowe & Dunlevy                                                                                 Routing #103003632
  Braniff Building                                                                          Oklahoma City, OK 73102
  324 N. Robinson Ave., Ste. 100                                                      Account Name: Crowe & Dunlevy
  Oklahoma City, OK 73102                                                                 Account Number 4025023715
                                                                                               Swift Code BFOKUS44


          Please refer to Invoice # 748460 and any other invoice numbers being paid on your remittance.
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Jones, Alex "AJ"                                                                 Page 2
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Client #          50134                                                          Invoice # 748460
Matter #          00802                                                       Responsible Attorney
                                                                                  Vickie L. Driver
Post - petition




 12/02/2022           C. Craig    B110/   Conduct legal research in support                 0.70
                                             of motion to file schedules
                                             and statements under seal.
 12/02/2022           C. Craig    B110/   Review Texas state court dockets                  1.70
                                             to determine pending state
                                             court actions against Debtor
                                             (.7); draft suggestions of
                                             bankruptcy for pending Texas
                                             state court actions and e-file
                                             same (.8); monitor status of
                                             court acceptance of e-filings
                                             (.2).
 12/02/2022           C. Craig    B110/   Review and analyze strategy in                    0.20
                                             filing initial motions in this
                                             case.
 12/02/2022           C. Craig    B110/   Draft Motion to extend deadline                   0.30
                                             to file required schedules.
 12/02/2022           V. Driver   B110/   Calls and emails with various                    10.00
                                              constituents on first day filing
                                              details (4.2); review and
                                              analyze various filing
                                              documents for first day
                                              matters (2.6); calls and email
                                              with BB and co-counsel on
                                              strategy on first day filings
                                              and related filing matters
                                              (3.2).
 12/02/2022           A. Gerard   B110/   Draft and revise motion for status                1.10
                                             conference and proposed
                                             order.
 12/02/2022           A. Gerard   B110/   Compile and assign/divide list of                 0.50
                                            necessary motions to be filed
                                            in bankruptcy case.
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Jones, Alex "AJ"                                                                 Page 3
                                                                       January 27, 2023

Client #          50134                                                            Invoice # 748460
Matter #          00802                                                         Responsible Attorney
                                                                                    Vickie L. Driver
Post - petition

 12/02/2022           A. Gerard       B160/   Assist with preparation of                      0.20
                                                 application to employ
                                                 bankruptcy counsel.
 12/02/2022           A. Gerard       B190/   Draft and revise motion and order               2.10
                                                 requesting joint
                                                 administration with FSS
                                                 bankruptcy.
 12/02/2022           C. Stephenson   B110/   Attention to first day filing                  10.00
                                                  matters (3.8); review and
                                                  respond to multiple emails
                                                  regarding same (3.6); calls
                                                  regarding first day issues
                                                  (2.6).
 12/02/2022           E. Weaver       B110/   Review file-stamped copy of                     0.20
                                                 petition, 20 largest and
                                                 disclosures and circulate to
                                                 team.
 12/02/2022           E. Weaver       B110/   Review RingCentral account with                 0.60
                                                 communications from various
                                                 media outlets and circulate to
                                                 Vickie L. Driver and Crissie
                                                 W. Stephenson (.4); follow-up
                                                 with Vickie L. Driver
                                                 regarding same (.1); forward
                                                 information to team members
                                                 who need to access account
                                                 (.1).
 12/02/2022           E. Weaver       B110/   Email correspondence to and                     0.80
                                                from the court coordinator
                                                regarding the new case filed
                                                and notice to her of a few
                                                procedural motions to be filed
                                                (.4); request and various email
                                                communications with dates
                                                and times the Court has
                                                available for a status
                                                conference (.4).
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Jones, Alex "AJ"                                                                 Page 4
                                                                       January 27, 2023

Client #          50134                                                         Invoice # 748460
Matter #          00802                                                      Responsible Attorney
                                                                                 Vickie L. Driver
Post - petition

 12/02/2022           E. Weaver   B110/   Email correspondence with                        0.10
                                            Chrystal Madden regarding
                                            dates and deadlines.
 12/02/2022           E. Weaver   B110/   Draft correspondence regarding                   0.30
                                             notice of appearance for the
                                             TXSB to co-counsel's office.
 12/02/2022           E. Weaver   B110/   Revise, finalize and file motion                 1.20
                                             for joint administration (in
                                             both the AJ and FSS cases)
                                             and request for status
                                             conference.
 12/02/2022           E. Weaver   B110/   Review those receiving ECF                       0.40
                                             notices and coordinate service
                                             of motion for joint
                                             administration and request for
                                             status conference.
 12/02/2022           E. Weaver   B110/   Email communication with                         0.40
                                            Caylin C. Craig regarding
                                            form application to employ
                                            counsel for TXSB (locate
                                            same).
 12/02/2022           E. Weaver   B110/   Communication with Vickie L.                     0.40
                                            Driver regarding restricted
                                            access to client documents
                                            (.2); email correspondence to
                                            Drew Palmer regarding
                                            restricted access to Litshare
                                            folder (.2).
 12/02/2022           E. Weaver   B110/   Compile and organize client                      0.60
                                            documents received to date.
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Jones, Alex "AJ"                                                                 Page 5
                                                                       January 27, 2023

Client #          50134                                                      Invoice # 748460
Matter #          00802                                                   Responsible Attorney
                                                                              Vickie L. Driver
Post - petition

 12/05/2022           C. Craig   B110/    Draft motion to extend deadline               0.70
                                             to file Debtor's schedules and
                                             states (.4); draft proposed
                                             order granting same (.2);
                                             review local rules to
                                             determine duty to confer with
                                             Trustee's office on motion to
                                             extend deadline (.1).
 12/05/2022           C. Craig   B160/    Continue drafting application to              1.30
                                             employ Crowe & Dunlevy as
                                             Debtor's bankruptcy counsel
                                             (.4); draft declaration of
                                             Vickie L. Driver in support of
                                             same (.5); review conflicts
                                             information in support of
                                             drafting declaration (.4).
 12/05/2022           C. Craig   B160/    Review filings by Debtor Free                 0.50
                                             Speech Systems in support of
                                             drafting application to employ
                                             Rachel Kennerly, LLC as
                                             Debtor's tax accountant.
 12/05/2022           C. Craig   B160/    Review and analyze                            0.50
                                             correspondence from Debtor's
                                             accountant (.1); draft
                                             correspondence to Debtor's
                                             accountant regarding
                                             application to employ her firm
                                             as Debtor's tax accountant
                                             (.4).
 12/05/2022           C. Craig   B210/    Review information from client in             0.60
                                             support of utility motion (.3);
                                             draft utility motion (.3).
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Client #          50134                                                         Invoice # 748460
Matter #          00802                                                      Responsible Attorney
                                                                                 Vickie L. Driver
Post - petition

 12/05/2022           V. Driver   B110/   Calls and emails with various                   10.00
                                              constituents on first day filing
                                              details (4.2); review and
                                              analyze various filing
                                              documents for first day
                                              matters (2.6); calls and emails
                                              with BB and co-counsel on
                                              strategy on first day filings
                                              and related filing matters
                                              (3.2).
 12/05/2022           V. Driver   B110/   Call with FSS counsel on case                    0.70
                                              interplay and seeking COC on
                                              joint admin motion and stay
                                              motion.
 12/05/2022           V. Driver   B110/   Attend to application of payments                0.50
                                              from clients.
 12/05/2022           V. Driver   B120/   Travel to Austin and discuss                     5.50
                                             financial investigation
                                             strategy with FAs en route
                                             (3.0); meeting with D. Jones
                                             on information regarding
                                             accounts, assets and related
                                             financial matters (2.5).
 12/05/2022           V. Driver   B185/   Review Employment agreement                      0.50
                                             and analyze pleadings to
                                             enforce same.
 12/05/2022           A. Gerard   B110/   Confer and discuss Debtor's legal                1.30
                                             and financial status with
                                             proposed financial advisors.
 12/05/2022           A. Gerard   B110/   Telephone conference with                        0.40
                                             counsel for FSS subchapter V
                                             trustee regarding upcoming
                                             motion filings and state court
                                             proceedings.
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Jones, Alex "AJ"                                                                 Page 7
                                                                       January 27, 2023

Client #          50134                                                             Invoice # 748460
Matter #          00802                                                          Responsible Attorney
                                                                                     Vickie L. Driver
Post - petition

 12/05/2022           A. Gerard       B160/   Draft application to employ                      2.60
                                                 financial advisor,
                                                 accompanying declaration,
                                                 and proposed order.
 12/05/2022           A. Gerard       B195/   Travel from Dallas to Austin for                 1.50
                                                 meetings with debtor and
                                                 other individuals relevant to
                                                 debtor's financial situation.
                                                 [billed at half time]
 12/05/2022           C. Stephenson   B110/   Draft and revise initial status                  5.50
                                                 report (3.6); draft
                                                 correspondence regarding
                                                 initial debtor report (.7);
                                                 review and revised motion to
                                                 extend deadline to file
                                                 schedules and proposed order
                                                 granting same (.8).
 12/05/2022           C. Stephenson   B140/   Draft Emergency Motion to                        1.80
                                                 Modify the Lift Stay Order
                                                 and related correspondence.
 12/05/2022           C. Stephenson   B160/   Draft correspondence regarding                   0.80
                                                 tax accountant employment
                                                 application.
 12/05/2022           C. Stephenson   B185/   Draft correspondence regarding                   0.60
                                                 Motion to Enforce Executory
                                                 Contract.
 12/05/2022           E. Weaver       B110/   Review order granting status                     0.20
                                                 conference and docket same.
 12/05/2022           E. Weaver       B110/   Compile client documents                         1.00
                                                received and forward to
                                                Blackbriar Advisors via
                                                fileshare.
 12/05/2022           E. Weaver       B110/   Review order granting status                     0.20
                                                 conference and docket same.
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Jones, Alex "AJ"                                                                 Page 8
                                                                       January 27, 2023

Client #          50134                                                        Invoice # 748460
Matter #          00802                                                     Responsible Attorney
                                                                                Vickie L. Driver
Post - petition

 12/05/2022           E. Weaver   B110/   Prepare first day pleadings                     0.80
                                             checklist and circulate for
                                             comments.
 12/05/2022           E. Weaver   B160/   Email correspondence to Caylin                  0.10
                                            C. Craig regarding pre-
                                            petition retainer amount
                                            received.
 12/06/2022           C. Craig    B110/   Draft Motion to Extend Schedule                 0.40
                                             filing Deadline and proposed
                                             order granting same.
 12/06/2022           C. Craig    B110/   Review and analyze strategy in                  2.10
                                             filing redacted versions of
                                             Debtor's statements and
                                             schedules (.4); review local
                                             rule requirements on filing
                                             redacted versions of
                                             statements and schedules (.4);
                                             conduct legal research in
                                             support of filing required
                                             motion to seal unredacted
                                             versions of Debtor's
                                             statements and schedules
                                             (1.3).
 12/06/2022           C. Craig    B160/   Revising Application to Employ                  2.30
                                             Crowe & Dunlevy as debtor's
                                             bankruptcy counsel (.9);
                                             revise declaration in support
                                             of same (.8); review conflicts
                                             report in support of drafting
                                             declaration (.6).
 12/06/2022           V. Driver   B110/   Meet with client to discuss initial             1.20
                                            status conference (.4); review
                                            and revise status report (.8).
 12/06/2022           V. Driver   B110/   Meet with client to discuss                     0.90
                                            financial issues with FSS and
                                            performance, sales and
                                            employment agreement (.9).
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Client #          50134                                                          Invoice # 748460
Matter #          00802                                                       Responsible Attorney
                                                                                  Vickie L. Driver
Post - petition

 12/06/2022           V. Driver   B110/   Review and analyze various                        0.30
                                             initial procedural motions in
                                             preparation for initial status
                                             conference.
 12/06/2022           V. Driver   B120/   Attend meeting with accountant                    3.10
                                              seeking additional
                                              information on assets and
                                              financial disclosures for
                                              schedules and SOFA
                                              completion (2.5); assembling
                                              list of information and
                                              document requests for
                                              accountant (.6).
 12/06/2022           V. Driver   B120/   Analyze trust and prenuptial                      0.70
                                             issues.
 12/06/2022           V. Driver   B140/   Review and revise stay                            1.60
                                             modification motion (.9);
                                             review NOAs and pro hac
                                             applications to gather emails
                                             for COC on stay modification
                                             email and send same (.7).
 12/06/2022           V. Driver   B150/   Initial emails on coordinating 341                0.40
                                               meeting and related issues on
                                               remote access and schedules
                                               with UST and co-counsel.
 12/06/2022           V. Driver   B160/   Analysis of app to employ and                     0.30
                                             disclosure of current or
                                             former clients under seal for
                                             confidentiality (.3).
 12/06/2022           V. Driver   B190/   Working dinner with FAs.                          1.00


 12/06/2022           V. Driver   B240/   Call with Tax accountant and                      0.40
                                              status of 2021 taxes as well as
                                              information needed to
                                              complete.
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Matter #          00802                                                            Responsible Attorney
                                                                                       Vickie L. Driver
Post - petition

 12/06/2022           A. Gerard       B110/   Conference with counsel for FSS                    0.40
                                                 regarding debtor's
                                                 employment contract and
                                                 credit card processor
                                                 documents.
 12/06/2022           A. Gerard       B110/   Review relevant legal authorities                  1.00
                                                 on ordinary course expenses
                                                 for individual Chapter 11
                                                 debtors and analyze potential
                                                 client expenses under said
                                                 authorities.
 12/06/2022           A. Gerard       B120/   Meetings with Debtor, Debtor's                     3.00
                                                affiliates, and affiliates of
                                                PQPR related to determining
                                                Debtor's overall financial
                                                status.
 12/06/2022           A. Gerard       B140/   Review local authorities                           0.50
                                                 regarding emergency relief
                                                 and revise motion to modify
                                                 stay in FSS accordingly.
 12/06/2022           A. Gerard       B185/   Draft and revise motions and                       2.50
                                                 proposed orders to enforce
                                                 employment agreement and
                                                 allow payment of Debtor's
                                                 salary as an administrative
                                                 expense in FSS matter.
 12/06/2022           C. Stephenson   B110/   Review and respond to                              3.90
                                                 correspondence regarding
                                                 Motion to Extend Schedules
                                                 Deadline (.3); review and
                                                 respond to correspondence
                                                 and calls regarding initial
                                                 debtor interview questions
                                                 (1.7); review revisions to
                                                 initial status report and draft
                                                 related correspondence (.6);
                                                 revise initial status report
                                                 (1.3).
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Matter #          00802                                                            Responsible Attorney
                                                                                       Vickie L. Driver
Post - petition

 12/06/2022           C. Stephenson   B140/   Review and revise motion for                       2.90
                                                 modification of stay.
 12/06/2022           E. Weaver       B110/   Review creditor matrix filed in                    3.50
                                                 the FSS case (.5); draft text
                                                 version of creditor matrix for
                                                 upload to the court and
                                                 compare to conflicts list (3.0).
 12/06/2022           E. Weaver       B110/   Draft verification of creditor                     1.00
                                                 matrix.
 12/06/2022           E. Weaver       B110/   Revise, finalize and file debtor's                 0.60
                                                 initial status report.
 12/06/2022           E. Weaver       B140/   Revise, finalize and file                          1.00
                                                 emergency motion to modify
                                                 stay orders in the FSS case
                                                 (.8); email correspondence to
                                                 the courtroom deputy
                                                 regarding emergency filing
                                                 (.2).
 12/07/2022           C. Craig        B110/   Draft motion to seal Debtor's                      1.50
                                                 statements and schedules (.8);
                                                 conduct legal research in
                                                 support of same (.7).
 12/07/2022           C. Craig        B110/   Review and analyze information                     0.40
                                                 regarding Debtor's regular,
                                                 monthly expenses in support
                                                 of utility motion.
 12/07/2022           C. Craig        B110/   Conduct legal research in support                  1.00
                                                 of Utility Motion.
 12/07/2022           V. Driver       B110/   Preparation for initial status                     2.80
                                                 conference (1.5); attend initial
                                                 status conference (.8);
                                                 discussion with UST on joint
                                                 admin and schedules
                                                 extension motions (.3);
                                                 analyze utility motion issues
                                                 (.2).
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Matter #          00802                                                            Responsible Attorney
                                                                                       Vickie L. Driver
Post - petition

 12/07/2022           V. Driver       B120/   Emails with counsel for Aurium                     0.40
                                                seeking reporting and
                                                financial accounting (.4).
 12/07/2022           V. Driver       B120/   Call with FSS Counsel on                           0.40
                                                  coordinating efforts and
                                                  financial issues (.5); analyze
                                                  issues with FA (.4).
 12/07/2022           V. Driver       B140/   Review and respond to emails                       0.20
                                                 from Plaintiff counsel on stay
                                                 motion modification (.2).
 12/07/2022           V. Driver       B320/   Meeting with L. Freeman on                         0.90
                                                status of mediation.
 12/07/2022           A. Gerard       B110/   Initial status conference before                   0.50
                                                   the Court.
 12/07/2022           A. Gerard       B195/   Return travel from Houston to                      1.80
                                                 Dallas following status
                                                 conference (3.6). [billed at
                                                 half time]
 12/07/2022           A. Gerard       B195/   Travel from Austin to Houston                      1.30
                                                 for status conference hearing.
                                                 (2.6). [billed at half time]
 12/07/2022           C. Stephenson   B110/   Working Travel to Houston in                       5.00
                                                preparation for initial hearing
                                                (3.0); non-working travel
                                                from Houston to Dallas. [4.0
                                                billed at 2.0]
 12/07/2022           C. Stephenson   B110/   Prepare for and attend initial                     3.80
                                                 status conference hearing.
 12/07/2022           C. Stephenson   B110/   Meetings with Sub V Trustee and                    1.80
                                                Counsel.
 12/07/2022           E. Weaver       B110/   Procure client utility documents                   0.40
                                                 and circulate to team.
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Matter #          00802                                                     Responsible Attorney
                                                                                Vickie L. Driver
Post - petition

 12/07/2022           E. Weaver   B110/   Review verified statement filed                 2.80
                                             by Texas Plaintiff's counsel
                                             and edit and update draft of
                                             creditor matrix (2.2); compare
                                             to FSS matrix (.6).
 12/07/2022           E. Weaver   B110/   Review dallaseservice inbox and                 0.30
                                             forward correspondence to
                                             team.
 12/07/2022           E. Weaver   B160/   Research and review fee                         0.80
                                             guidelines for TXSB and
                                             Region 7 for the US Trustee's
                                             office (.6); email
                                             correspondence to co-
                                             counsel's office regarding
                                             same (.2).
 12/08/2022           C. Craig    B110/   Review and analyze initial                      1.30
                                             motions needed to be filed in
                                             this matter, including motion
                                             for extension of schedules
                                             deadline, employment
                                             applications, and utility
                                             motion; evaluate additional
                                             information needed from
                                             Debtor in support of Motions.
 12/08/2022           V. Driver   B110/   Analyze issues regarding next                   1.00
                                             procedural motions needed in
                                             case (.8); review matrix
                                             redactions (.2).
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Matter #          00802                                                           Responsible Attorney
                                                                                      Vickie L. Driver
Post - petition

 12/08/2022           V. Driver       B120/   Call with FAs to discuss progress                 1.50
                                                  in financial investigation and
                                                  next steps (.5); emails seeking
                                                  meetings with additional
                                                  individuals to progress in
                                                  financial investigations (.6);
                                                  emails with counsel
                                                  coordinating delivery of
                                                  documents and security of
                                                  contents (.2); emails on FSS
                                                  charges to AJ for items (.2).
 12/08/2022           V. Driver       B160/   Analyze issues relating to fee and                0.40
                                                 employment applications.
 12/08/2022           V. Driver       B320/   Call with L. Freemen on                           0.40
                                                  mediation issues.
 12/08/2022           A. Gerard       B110/   Confer with counsel team                          0.70
                                                 regarding necessary motions
                                                 to be filed and general status
                                                 of information gathering
                                                 efforts.
 12/08/2022           A. Gerard       B110/   Review and revise proposed                        0.60
                                                 creditor matrix for accuracy
                                                 and completeness.
 12/08/2022           C. Stephenson   B110/   Case strategy meeting (1.5);                      2.50
                                                 review and analyze
                                                 procedural filings needed
                                                 going forward (.8); review
                                                 existing pleadings list (.2).
 12/08/2022           C. Stephenson   B150/   Review and respond to                             0.60
                                                 correspondence regarding 341
                                                 meeting and scheduling
                                                 issues.
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Matter #          00802                                                       Responsible Attorney
                                                                                  Vickie L. Driver
Post - petition

 12/08/2022           C. Stephenson   B160/   Draft correspondence regarding                2.00
                                                 Application to Employ
                                                 Accountant (.8); perform
                                                 analysis regarding and draft
                                                 correspondence regarding
                                                 interim compensation motion
                                                 (1.2).
 12/08/2022           C. Stephenson   B185/   Review Motion to Set Date to                  1.60
                                                 Assume or Reject Executory
                                                 Contract.
 12/08/2022           C. Stephenson   B310/   Review Administrative Claim                   1.30
                                                 Motion.
 12/08/2022           E. Weaver       B110/   Electronic file management of                 0.60
                                                 family law files received from
                                                 Minton, Bassett, Flores &
                                                 Carsey, P.C.
 12/08/2022           E. Weaver       B110/   Update and revise first day                   0.40
                                                 pleadings check list and
                                                 circulate to team.
 12/08/2022           E. Weaver       B110/   Email correspondence with                     1.80
                                                Allison N. Gerard regarding
                                                FSS filing for Texas Plaintiffs
                                                and continue working on
                                                creditor matrix.
 12/09/2022           C. Craig        B160/   Draft motion to establish                     1.50
                                                 procedures for interim
                                                 compensation for Debtor's
                                                 retained professionals.
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Matter #          00802                                                      Responsible Attorney
                                                                                 Vickie L. Driver
Post - petition

 12/09/2022           C. Craig    B160/   Draft application to employ                      1.10
                                             Rachel Kennerly, LLC as
                                             Debtor's tax accountant (.6);
                                             draft declaration of Rachel
                                             Kennerly in support of
                                             employment application (.4);
                                             draft correspondence to
                                             Rachel Kennerly regarding
                                             proposed declaration for her
                                             review (.1).
 12/09/2022           C. Craig    B210/   Review and analyze Debtor's                      0.50
                                             regular, monthly expenses in
                                             support of drafting Utility
                                             Motion.
 12/09/2022           V. Driver   B110/   Emailing plaintiff's counsel to set              0.20
                                            up introductory call and
                                            discuss case.
 12/09/2022           V. Driver   B110/   Internal call with co -counsel                   1.00
                                              forming strategy for initial
                                              hearings and pleadings.
 12/09/2022           V. Driver   B110/   Review email from litigation                     0.20
                                             counsel on joint report and
                                             respond to same.
 12/09/2022           V. Driver   B120/   Coordinating schedules for                       0.10
                                             meetings next week in Austin
                                             to continue investigate
                                             financial situation for
                                             schedules.
 12/09/2022           V. Driver   B120/   Introductory call with FSS CRO                   1.00
                                              on financial issues.
 12/09/2022           V. Driver   B210/   Analyze need for marketing fee                   0.40
                                             agreement between FSS and
                                             Alex Jones.
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Matter #          00802                                                          Responsible Attorney
                                                                                     Vickie L. Driver
Post - petition

 12/09/2022           C. Stephenson   B110/   Review and revise Motion for                     5.60
                                                 Extension of deadline to file
                                                 Schedules and proposed order
                                                 (.3); draft related
                                                 correspondence (.3); review
                                                 notice of hearing and draft
                                                 related correspondence (.4);
                                                 review creditor matrix and
                                                 analyze issues regarding same
                                                 (1.2); draft related
                                                 correspondence (1.1);
                                                 conference calls regarding
                                                 case status issues (2.3).
 12/09/2022           C. Stephenson   B210/   Draft letter agreement on                        1.70
                                                 platinum deal (0.9); review
                                                 correspondence with terms
                                                 (.8).
 12/09/2022           E. Weaver       B110/   Email correspondence to Crissie                  0.20
                                                W. Stephenson with updated
                                                filings and creditor matrix
                                                ready for client approval.
 12/09/2022           E. Weaver       B110/   Review judge specific guidelines                 0.40
                                                 and local rules regarding
                                                 hearing notices.
 12/09/2022           E. Weaver       B110/   Draft and file notice of hearing on              0.70
                                                 joint administration motion
                                                 (efile in both the AJ case and
                                                 FSS).
 12/09/2022           E. Weaver       B140/   Draft and file notice of hearing on              0.70
                                                 motion to modify stay orders
                                                 and file in the FSS case.
 12/12/2022           N. Collins      B320/   Evaluate and complete disclosure                 0.60
                                                 responses; correspondence
                                                 with Vickie L. Driver, Crissie
                                                 W. Stephenson and Allison N.
                                                 Gerard regarding same.
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Matter #          00802                                                        Responsible Attorney
                                                                                   Vickie L. Driver
Post - petition

 12/12/2022           C. Craig    B110/   Review information from client in                  0.70
                                             support of drafting utility
                                             motion (.2); draft utility
                                             motion (.5).
 12/12/2022           C. Craig    B110/   Review and analyze strategy for                    0.40
                                             proposed order granting joint
                                             administration (.2); draft
                                             proposed order granting joint
                                             administration (.2).
 12/12/2022           C. Craig    B120/   Review and analyze                                 0.30
                                             approximately 930 pages of
                                             Debtor's deposition testimony
                                             in Connecticut state court
                                             litigation to evaluate any
                                             testimony pertaining to
                                             financial affairs in support of
                                             drafting Debtor's bankruptcy
                                             schedules.
 12/12/2022           V. Driver   B140/   Call with Akin on position with                    0.80
                                              relief from stay and potential
                                              resolution to both.
 12/12/2022           V. Driver   B160/   Email firm wide seeking                            0.90
                                            disclosure of connections with
                                            requisite offices and persons
                                            and review responses to same.
 12/12/2022           V. Driver   B230/   Call with L. Freeman regarding                     0.40
                                              client position on various
                                              matters (.4); call with PQPR
                                              counsel on limitations on
                                              discussions with client (.5);
                                              emails with BB on pre-
                                              petition payroll issue with AJ
                                              household staff (.4).
 12/12/2022           A. Gerard   B110/   Investigate inclusion of certain                   1.00
                                             individuals on creditor matrix
                                             and potential need to redact
                                             certain entries.
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Matter #          00802                                                          Responsible Attorney
                                                                                     Vickie L. Driver
Post - petition

 12/12/2022           C. Stephenson   B110/   Draft and review correspondence                  1.70
                                                 regarding creditor matrix
                                                 analysis (1.3); review and
                                                 respond to correspondence
                                                 regarding IDI and hearing
                                                 scheduling (.4).
 12/12/2022           C. Stephenson   B140/   Review and Analyze Emergency                     2.60
                                                 Motion to Lift Stay.
 12/12/2022           C. Stephenson   B150/   Prepare for and attend call with                 1.20
                                                 counsel for creditor parties.
 12/12/2022           E. Weaver       B110/   Review notice of chapter 11                      0.30
                                                 bankruptcy case and file dates
                                                 and deadlines.
 12/12/2022           E. Weaver       B110/   Email correspondence to co-                      0.20
                                                counsel's office regarding
                                                financial education class for
                                                client.
 12/12/2022           E. Weaver       B110/   Obtain hearing instructions and                  0.20
                                                 docket hearing on joint
                                                 administration.
 12/12/2022           E. Weaver       B140/   Obtain hearing instructions and                  0.20
                                                 docket hearing on motion to
                                                 modify stay orders.
 12/12/2022           E. Weaver       B160/   Procure bankruptcy billing code                  0.30
                                                 set and forward to Blackbriar
                                                 Advisors.
 12/13/2022           C. Craig        B110/   Draft proposed order granting                    0.60
                                                 joint administration.
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Matter #          00802                                                        Responsible Attorney
                                                                                   Vickie L. Driver
Post - petition

 12/13/2022           C. Craig    B120/   Review and analyze                                 3.70
                                             approximately 930 pages of
                                             Debtor's deposition testimony
                                             in Connecticut state court
                                             litigation to evaluate any
                                             testimony pertaining to
                                             financial affairs in support of
                                             drafting Debtor's bankruptcy
                                             schedules
 12/13/2022           C. Craig    B140/   Review and analyze Sandy Hook                      0.40
                                             Plaintiffs' Motion for Relief
                                             from the Automatic Stay.
 12/13/2022           C. Craig    B160/   Revising Motion to Employ                          0.30
                                             Crowe and Dunlevy, P.C. as
                                             Debtor's bankruptcy counsel.
 12/13/2022           V. Driver   B110/   Email follow up with multiple                      0.70
                                            parties owing information to
                                            support schedules and
                                            statements.
 12/13/2022           V. Driver   B160/   Correspondence with litigation                     0.30
                                             counsel and need to be
                                             employed in BK to get paid
                                             for post-petition services.
 12/13/2022           V. Driver   B195/   Travel to Austin (3.2). [billed at                 1.60
                                             half time]
 12/13/2022           V. Driver   B210/   Calls with client on disclosure of                 1.90
                                              redacted information in FSS
                                              case and potential loss of
                                              service (.5); call with service
                                              provider on same (.3); review
                                              pleadings on docket and from
                                              service provider seeking
                                              information leaked (1.1).
 12/13/2022           V. Driver   B320/   Call with mediator.                                0.90
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Matter #          00802                                                          Responsible Attorney
                                                                                     Vickie L. Driver
Post - petition

 12/13/2022           A. Gerard       B110/   Research standard for permitted                  0.70
                                                 living expenses, as well as
                                                 types of expenses permitted,
                                                 for debtors in individual
                                                 Chapter 11 cases.
 12/13/2022           C. Stephenson   B110/   Review correspondence regarding                  0.80
                                                 deposition summary.
 12/13/2022           C. Stephenson   B140/   Perform analysis regarding                       1.60
                                                  response to Lift Stay Motion
                                                  (.9); draft related
                                                  correspondence (.7).
 12/13/2022           C. Stephenson   B150/   Review Organizational Meeting                    1.60
                                                 of Creditors Notice (.5);
                                                 perform analysis regarding
                                                 UCC for Individuals (1.1).
 12/13/2022           C. Stephenson   B210/   Review and analyze                               1.10
                                                 correspondence regarding
                                                 sales calculations and issues
                                                 with credit card processor.
 12/13/2022           E. Weaver       B110/   Review notice of organizational                  0.20
                                                 meeting of unsecured
                                                 creditors and circulate to
                                                 team.
 12/13/2022           E. Weaver       B110/   Review summary of AJ                             0.30
                                                 compensation and forward to
                                                 Blackbriar Advisors via
                                                 fileshare.
 12/13/2022           E. Weaver       B160/   Email correspondence with co-                    0.10
                                                counsel's office regarding
                                                bankruptcy billing codes.
 12/14/2022           C. Craig        B110/   Draft Initial Report by Debtor.                  0.30
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Matter #          00802                                                      Responsible Attorney
                                                                                 Vickie L. Driver
Post - petition

 12/14/2022           C. Craig    B120/   Review and analyze                               1.50
                                             approximately 930 pages of
                                             Debtor's deposition testimony
                                             in Connecticut state court
                                             litigation to evaluate any
                                             testimony pertaining to
                                             financial affairs in support of
                                             drafting Debtor's bankruptcy
                                             schedules.
 12/14/2022           C. Craig    B190/   Draft Motion related to                          1.40
                                             Committee of Unsecured
                                             Creditors (.7); conduct legal
                                             research in support of same
                                             (.7).
 12/14/2022           V. Driver   B110/   Review information on budget for                 4.40
                                             client and analyze same (1.2);
                                             review and analyze financial
                                             information in documents
                                             (1.1); general discussion with
                                             BB advisors on information
                                             needed to complete schedules
                                             (1.5); call with SUBV Trustee
                                             counsel on objection to joint
                                             admin (.3); email follow up
                                             with persons owing
                                             information from initial
                                             meetings (.3).
 12/14/2022           V. Driver   B120/   Touring studio and facility (1.0);               3.60
                                             meeting various personnel at
                                             FSS and seeking information
                                             on location of assets (1.1);
                                             inspection of gun safes at FSS
                                             offices (.8); call with E. Taube
                                             on prior representation in
                                             involuntary and background
                                             information (.7).
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Matter #          00802                                                            Responsible Attorney
                                                                                       Vickie L. Driver
Post - petition

 12/14/2022           V. Driver       B190/   Call with R. Battaglia on                          0.40
                                                  availability of call with
                                                  mediator (.2); send email on
                                                  same (.2).
 12/14/2022           V. Driver       B230/   Review cash collateral budget and                  1.10
                                                 begin limited objection to cc
                                                 usage regarding AJ's salary
                                                 and seeking information on
                                                 job duties of other employees.
 12/14/2022           V. Driver       B240/   Analyzing issues with donations                    0.40
                                                 and tax impact.
 12/14/2022           A. Gerard       B140/   Draft objection to plaintiffs'                     1.50
                                                 Motion to Lift Stay regarding
                                                 state court appeals.
 12/14/2022           A. Gerard       B230/   Draft objection to cash collateral                 2.40
                                                 motion in FSS related to
                                                 Debtor's salary and expense
                                                 reimbursements under
                                                 employment agreement.
 12/14/2022           C. Stephenson   B110/   Review and revise Notice of                        0.80
                                                 Reset Hearing; (.3); review
                                                 Joint administration proposed
                                                 agreed order and draft related
                                                 correspondence (.5).
 12/14/2022           C. Stephenson   B110/   Review and respond to                              0.50
                                                 correspondence regarding
                                                 utility communications.
 12/14/2022           C. Stephenson   B140/   Review and respond to                              0.20
                                                 correspondence regarding Lift
                                                 Stay Response.
 12/14/2022           C. Stephenson   B150/   Perform research and analysis                      3.10
                                                  regarding committee issues
                                                  (2.2); draft related
                                                  correspondence (.2); calls
                                                  regarding same (.7).
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Matter #          00802                                                         Responsible Attorney
                                                                                    Vickie L. Driver
Post - petition

 12/14/2022           C. Stephenson   B210/   Draft and revise platinum                       1.80
                                                 products contract (1.1);
                                                 review and analyze terms and
                                                 draft related correspondence
                                                 (.7).
 12/14/2022           C. Stephenson   B230/   Review and respond to                           0.50
                                                 correspondence regarding
                                                 Limited Objection to Cash
                                                 Collateral in FSS.
 12/14/2022           E. Weaver       B110/   Finalize and file motion to extend              0.50
                                                 deadline to file schedules and
                                                 docket objection deadline for
                                                 same.
 12/14/2022           E. Weaver       B110/   Review documents for initial                    2.20
                                                 debtor interview and complete
                                                 initial report summary.
 12/14/2022           E. Weaver       B110/   Compile client documents                        0.80
                                                available for the initial debtor
                                                interview and forward to
                                                Blackbriar Advisors via
                                                fileshare.
 12/14/2022           E. Weaver       B110/   Obtain premarital agreement and                 0.20
                                                 forward to Vickie L. Driver
                                                 via fileshare while meeting
                                                 with co-counsel and the client.
 12/14/2022           E. Weaver       B110/   Draft and file notice of reset                  0.60
                                                 hearing on joint admin motion
                                                 (efile in both the AJ and FSS
                                                 cases).
 12/14/2022           E. Weaver       B140/   Draft and file notice of hearing on             0.40
                                                 motion to modify stay orders.
 12/14/2022           E. Weaver       B320/   Email correspondence with                       0.10
                                                Caylin C. Craig regarding
                                                explanation of proposed plan
                                                of reorganization.
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Matter #          00802                                                           Responsible Attorney
                                                                                      Vickie L. Driver
Post - petition

 12/15/2022           C. Craig        B190/   Draft Motion related to                           3.40
                                                 Unsecured Creditors'
                                                 Committee (1.8); conduct
                                                 legal research in support of
                                                 same (1.6).
 12/15/2022           V. Driver       B110/   Correspondence with parties                       0.30
                                                 seeking resolution for Joint
                                                 admin motion given
                                                 objections from parties.
 12/15/2022           V. Driver       B140/   Call with counsel for Creditors on                0.40
                                                  stay resolution issues and
                                                  terms.
 12/15/2022           V. Driver       B195/   Travel from Austin (3.2). [billed                 1.60
                                                 at half time]
 12/15/2022           V. Driver       B230/   Meetings with business partners                   2.70
                                                to discuss potential avenues of
                                                revenue for AJ or FSS (1.5);
                                                meeting to inspect gun safes
                                                (1.0); work on W&E list for
                                                cash collateral objection in
                                                FSS (.2).
 12/15/2022           A. Gerard       B190/   Review cash collateral documents                  1.00
                                                 in FSS matter to determine
                                                 necessary additions to
                                                 Debtor's objection.
 12/15/2022           C. Stephenson   B210/   Review utility information and                    2.10
                                                 related correspondence.
 12/15/2022           C. Stephenson   B230/   Review and revise Limited                         2.10
                                                 Objection to Cash Collateral
                                                 and draft related
                                                 correspondence (2.8); review
                                                 and revise witness and exhibit
                                                 list for hearing on same (.6).
 12/15/2022           E. Weaver       B110/   Hearing prep for the 12-19-2022                   2.80
                                                 hearing on joint admin.
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Matter #          00802                                                             Responsible Attorney
                                                                                        Vickie L. Driver
Post - petition

 12/15/2022           E. Weaver       B110/   Email service of exhibit to                         0.20
                                                debtor's counsel in the FSS
                                                case, Subchapter V Trustee
                                                and US Trustee.
 12/15/2022           E. Weaver       B140/   Draft and file exhibit list for the                 1.20
                                                 12-19-22 hearing and file in
                                                 the FSS case.
 12/16/2022           N. Collins      B240/   Correspondence with Vickie L.                       1.90
                                                 Driver regarding tax treatment
                                                 of Bitcoin donations and use
                                                 of proceeds.
 12/16/2022           C. Craig        B190/   Draft Motion related to                             2.30
                                                 Unsecured Creditors
                                                 Committee (1.3); conduct
                                                 legal research in support of
                                                 same (1.0).
 12/16/2022           V. Driver       B110/   Call with Blackbriar to discuss                     0.40
                                                  IDI completion.
 12/16/2022           V. Driver       B150/   Review lengthy emails from                          0.80
                                                 creditor.
 12/16/2022           V. Driver       B230/   Review and revise CC objection                      1.30
                                                 and prepare for filing (.9);
                                                 emails seeking meeting or call
                                                 with CRO for FSS to discuss
                                                 revenue and plans to increase
                                                 same (.2); discuss providing
                                                 employment contract for
                                                 exhibit (.2).
 12/16/2022           C. Stephenson   B110/   Review FSS MORs.                                    0.80


 12/16/2022           C. Stephenson   B140/   Review and respond to                               1.20
                                                 correspondence regarding
                                                 order on Motion to Modify
                                                 Stay.
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                                                                                        Vickie L. Driver
Post - petition

 12/16/2022           C. Stephenson   B150/   Review and analyze creditor                         1.30
                                                 correspondence.
 12/16/2022           C. Stephenson   B230/   Draft correspondence regarding                      0.60
                                                 exhibit list for cash collateral
                                                 hearing.
 12/17/2022           V. Driver       B110/   Email to UST regarding bank for                     0.20
                                                DIP Account.
 12/17/2022           C. Stephenson   B140/   Review and respond to                               0.40
                                                 correspondence from S.
                                                 Brauner regarding proposed
                                                 agreed order on stay
                                                 modification.
 12/18/2022           C. Stephenson   B110/   Review and analyze initial debtor                   1.70
                                                 interview documentation and
                                                 questions (.8); call with
                                                 financial advisors regarding
                                                 same (.9).
 12/19/2022           V. Driver       B110/   Review and revise IDI                               2.30
                                                 documentation and supporting
                                                 documentation in preparation
                                                 for IDI (1.3); attend IDI (1.0).
 12/19/2022           V. Driver       B110/   Preparation for and attend hearing                  0.80
                                                 on joint admin.
 12/19/2022           V. Driver       B110/   Discuss outcome of hearing with                     1.00
                                                 client and co-counsel.
 12/19/2022           V. Driver       B140/   Review and approve final form of                    1.80
                                                 agreed lift stay order and
                                                 prepare for hearing on same.
 12/19/2022           V. Driver       B150/   Call with S. Brauner on terms of                    0.40
                                                  committee counsel
                                                  compensation.
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                                                                                Vickie L. Driver
Post - petition

 12/19/2022           V. Driver   B195/   Travel to and from Austin for                   3.30
                                             preparation for and
                                             presentation at the IDI and
                                             Hearing on various matters
                                             (6.6). [billed at half time]
 12/19/2022           V. Driver   B230/   Preparation for and attend hearing              1.20
                                             in FSS on cash collateral and
                                             seeking full contract salary
                                             (1.2); call with counsel for
                                             committee on cash collateral
                                             position (.6).
 12/19/2022           A. Gerard   B190/   Prepare for and attend (in part)                0.50
                                             hearing on debtor's motions
                                             for joint administration and to
                                             modify stay, as well as relief
                                             from stay motions of
                                             creditors.
 12/19/2022           E. Weaver   B110/   Prepare electronic hearing                      2.40
                                             notebook and exhibit binder
                                             for hearings in both the AJ
                                             and FSS cases and forward to
                                             Vickie L. Driver via fileshare.
 12/19/2022           E. Weaver   B110/   Review email correspondence                     0.10
                                             from bankruptcy
                                             correspondent with
                                             Bloomberg and circulate to
                                             team.
 12/20/2022           C. Craig    B160/   Revising Application to Employ                  0.20
                                             Crowe & Dunlevy as Debtor's
                                             bankruptcy counsel and
                                             proposed order granting same.
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                                                                                     Vickie L. Driver
Post - petition

 12/20/2022           C. Craig        B210/   Draft Utility Motion (.6); review                1.30
                                                 and analyze information
                                                 received regarding Debtor's
                                                 utilities in support of same
                                                 (.4); and draft correspondence
                                                 to Debtor's representatives to
                                                 gather information in support
                                                 of Utility Motion (.3).
 12/20/2022           V. Driver       B110/   Review account statement and                     0.40
                                                 analyze DIP status.
 12/20/2022           V. Driver       B120/   Multiple emails and calls seeking                1.20
                                                 access to FSS financials,
                                                 cooperation of CRO, and
                                                 review initial sales
                                                 reconciliation.
 12/20/2022           C. Stephenson   B160/   Review draft employment                          5.00
                                                 application, declaration and
                                                 proposed order of S. Jones
                                                 (1.3); draft related
                                                 correspondence (.3); review
                                                 and revise interim
                                                 compensation motion (2.5);
                                                 review and respond to related
                                                 correspondence (.9).
 12/20/2022           C. Stephenson   B160/   Review and revise Employment                     2.70
                                                 application for Blackbriar
                                                 financial advisors, declaration
                                                 of B. Schlizer in support and
                                                 proposed order (2.2); draft
                                                 related correspondence (.5).
 12/20/2022           C. Stephenson   B160/   Review and revise Employment                     3.50
                                                 Application for Crowe &
                                                 Dunlevy, declaration of
                                                 Vickie L. Driver, and
                                                 proposed order (2.4); review
                                                 related correspondence (1.1).
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Matter #          00802                                                        Responsible Attorney
                                                                                   Vickie L. Driver
Post - petition

 12/20/2022           E. Weaver    B110/   Coordinate service of Notice of                   0.30
                                              Chapter 11 Bankruptcy on
                                              creditor mailing list.
 12/20/2022           E. Weaver    B110/   Finalize text version of creditor                 1.30
                                              matrix and upload to the
                                              court.
 12/21/2022           N. Collins   B240/   Correspondence and call with                      1.20
                                              Vickie L. Driver regarding
                                              Bitcoin donations from
                                              listeners and the tax treatment
                                              to the recipient.
 12/21/2022           C. Craig     B110/   Draft Utility Motion and                          1.90
                                              Proposed Order to same (1.3);
                                              review secretary of state
                                              filings to obtain service
                                              addresses for utility
                                              companies for service of
                                              Utility Motion (.6).
 12/21/2022           C. Craig     B120/   Continue to review and analyze                    0.60
                                              approximately 930 pages of
                                              Debtor's deposition testimony
                                              in Connecticut state court
                                              litigation to evaluate any
                                              testimony pertaining to
                                              financial affairs in support of
                                              drafting Debtor's bankruptcy
                                              schedules.
 12/21/2022           C. Craig     B160/   Draft application for interim                     1.00
                                              compensation procedures to
                                              mirror procedures granted in
                                              Free Speech Systems'
                                              bankruptcy case.
 12/21/2022           C. Craig     B160/   Draft application to employ                       0.50
                                              Rachel Kennerly, LLC as
                                              Debtor's tax accountant and
                                              proposed order granting same.
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Matter #          00802                                                            Responsible Attorney
                                                                                       Vickie L. Driver
Post - petition

 12/21/2022           V. Driver       B110/   Calls and emails regarding                         1.30
                                                  information necessary to file
                                                  Utility Motion and prohibit
                                                  termination of utility service
                                                  post-petition (.9); call with
                                                  client regarding same (.4).
 12/21/2022           V. Driver       B150/   Brief review of multiple lengthy                   0.40
                                                  emails from creditor.
 12/21/2022           V. Driver       B160/   Final approval of employment                       0.40
                                                 apps for filing.
 12/21/2022           V. Driver       B185/   Finalizing motion to compel                        0.70
                                                 assumption or rejection of AJ
                                                 employment agreement with
                                                 FSS (.3); review email from
                                                 S. Jordan on testimony for
                                                 hearing (.2); discuss same
                                                 with B. Schleizer (.2).
 12/21/2022           V. Driver       B190/   Emails with litigation counsel on                  0.30
                                                status of mediation.
 12/21/2022           V. Driver       B190/   Travel to Houston (2.6). [billed at                1.30
                                                 half time]
 12/21/2022           A. Gerard       B160/   Begin revising interim fee                         0.30
                                                 procedures motion to comport
                                                 with procedures approved in
                                                 FSS matter.
 12/21/2022           C. Stephenson   B110/   Review and revise Utility Motion                   2.20
                                                 and proposed order (1.5);
                                                 draft related correspondence
                                                 (.7).
 12/21/2022           C. Stephenson   B110/   Review and respond to                              1.80
                                                 correspondence regarding
                                                 utility motion and exhibits
                                                 regarding same.
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Matter #          00802                                                          Responsible Attorney
                                                                                     Vickie L. Driver
Post - petition

 12/21/2022           C. Stephenson   B160/   Review and revise Interim                        2.90
                                                 compensation Motion and
                                                 proposed order (1.7); draft
                                                 related correspondence (.9);
                                                 correspondence regarding
                                                 professional applications (.3).
 12/21/2022           C. Stephenson   B185/   Review and revise Motion to Set                  2.60
                                                 a Date to Assume or Reject
                                                 Executory contracts (1.7);
                                                 draft related correspondence
                                                 (.6); call for certificate of
                                                 conference (.3).
 12/21/2022           C. Stephenson   B185/   Review and revise Emergency                      3.40
                                                 Motion to Fix Date for Debtor
                                                 to Assume or Reject Contract
                                                 and Proposed Order (2.6);
                                                 draft related correspondence
                                                 (.8).
 12/21/2022           E. Weaver       B110/   Email correspondence to the                      0.10
                                                courtroom deputy regarding
                                                emergency utilities motion.
 12/21/2022           E. Weaver       B110/   Finalize, file and coordinate                    0.60
                                                 service of emergency motion
                                                 granting utilities motion.
 12/21/2022           E. Weaver       B185/   Revise, finalize and file motion to              0.70
                                                 fix date by which debtor must
                                                 assume or reject contract and
                                                 file in the FSS case.
 12/22/2022           C. Craig        B120/   Continue to review and analyze                   1.70
                                                 approximately 930 pages of
                                                 Debtor's deposition testimony
                                                 in Connecticut state court
                                                 litigation to evaluate any
                                                 testimony pertaining to
                                                 financial affairs in support of
                                                 drafting Debtor's bankruptcy
                                                 schedules.
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                                                                                       Vickie L. Driver
Post - petition

 12/22/2022           C. Craig        B160/   Draft correspondence to tax                        0.50
                                                 accountant regarding
                                                 application to employ Rachel
                                                 Kennerly, LLC as Debtor's
                                                 tax accountant (.2); phone
                                                 conference regarding same
                                                 (.3).
 12/22/2022           C. Craig        B160/   Draft revisions to application to                  0.50
                                                 employ Rachel Kennerly,
                                                 LLC as Debtor's tax
                                                 accountant based on
                                                 information received from tax
                                                 accountant.
 12/22/2022           V. Driver       B120/   Review and analyze cash                            1.20
                                                 reconciliation and discuss
                                                 with BB.
 12/22/2022           V. Driver       B150/   Call with creditor regarding                       1.10
                                                  impact to contract from filing.
 12/22/2022           C. Stephenson   B160/   Review Application to Employ                       4.20
                                                 and proposed order for
                                                 Accountant (1.4); draft related
                                                 correspondence (.4); Review
                                                 Application and proposed
                                                 order for Blackbriar (1.8);
                                                 draft related correspondence
                                                 (.6).
 12/22/2022           E. Weaver       B110/   Email correspondence to co-                        0.10
                                                counsel's office regarding
                                                filing disclosure of
                                                compensation.
 12/22/2022           E. Weaver       B160/   Finalize and file motion for entry                 0.50
                                                 of order establishing
                                                 procedures for interim
                                                 compensation.
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                                                                               Vickie L. Driver
Post - petition

 12/22/2022           E. Weaver   B160/   Docket objection deadline for                  0.10
                                             motion for interim
                                             compensation.
 12/23/2022           C. Craig    B120/   Review and analyze                             0.50
                                             approximately 930 pages of
                                             Debtor's deposition testimony
                                             in Connecticut state court
                                             litigation to evaluate any
                                             testimony pertaining to
                                             financial affairs in support of
                                             drafting Debtor's bankruptcy
                                             schedules.
 12/23/2022           C. Craig    B160/   Review local rules for hearing                 0.30
                                             agenda requirements;
                                             determine deadline for
                                             agendas to be filed on
                                             upcoming hearing regarding
                                             employment applications.
 12/23/2022           C. Craig    B160/   Continue to review and analyze                 0.80
                                             approximately 930 pages of
                                             Debtor's deposition testimony
                                             in Connecticut state court
                                             litigation to evaluate any
                                             testimony pertaining to
                                             financial affairs in support of
                                             drafting Debtor's bankruptcy
                                             schedules.
 12/23/2022           V. Driver   B110/   Arrange for notices of hearing                 0.70
                                             and withdrawal of documents
                                             from last hearing and
                                             calendaring agenda deadlines
                                             (.5); review and approve
                                             comments from committee
                                             counsel (.2).
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                                                                                     Vickie L. Driver
Post - petition

 12/23/2022           V. Driver       B120/   Emails on contact info seeking                   1.10
                                                clarity on cash reconciliation
                                                (.1); call with FSS counsel
                                                and BB Advisors walking
                                                through cash reconciliation
                                                issues (.7); Review updated
                                                notes on AJ deposition
                                                regarding financial
                                                disclosures (.3).
 12/23/2022           V. Driver       B160/   Review committee counsel                         0.30
                                                 comments to employment
                                                 applications and approve
                                                 same.
 12/23/2022           C. Stephenson   B110/   Review deposition summary.                       0.50


 12/23/2022           C. Stephenson   B110/   Review and revise Notice of                      0.90
                                                 Hearing (.5); draft related
                                                 correspondence (.4).
 12/23/2022           C. Stephenson   B150/   Review and respond to comments                   0.50
                                                 from creditor counsel on
                                                 proposed orders.
 12/23/2022           C. Stephenson   B160/   Conference with professionals                    0.60
                                                 regarding application changes.
 12/27/2022           C. Craig        B110/   Conduct legal research in support                2.60
                                                 of Motion to Seal Debtor's
                                                 Schedules (1.0); review and
                                                 analyze deposition testimony
                                                 in support of Motion to Seal
                                                 (.8); draft Motion to Seal
                                                 Debtor's Schedules (.8).
 12/27/2022           C. Craig        B110/   Draft notices of withdrawal of                   0.50
                                                 Joint Administration Motions
                                                 in Debtor's case and in Free
                                                 Speech Systems' case.
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                                                                                 Vickie L. Driver
Post - petition

 12/27/2022           C. Craig    B160/   Review and analyze Free Speech                   0.30
                                             Systems filings to determine
                                             whether application to employ
                                             Rachel Kennerly, LLC as
                                             Free Speech Systems' tax
                                             accountant has been filed in
                                             support of Debtor Alex Jones'
                                             application to employ Rachel
                                             Kennerly, LLC as tax
                                             accountant.
 12/27/2022           V. Driver   B150/   Review information from                          0.10
                                             Security Bank of Crawford
                                             referencing loan guaranty.
 12/27/2022           V. Driver   B150/   Emails with Security Bank of                     0.30
                                            Crawford referencing loan
                                            guaranty.
 12/27/2022           V. Driver   B190/   Call with team on 2004 draft                     1.20
                                              request for all documents
                                              turned over to SubV Trustee
                                              (.8); emails to committee
                                              counsel on information
                                              published by Plaintiff's
                                              counsel on website and seek
                                              good faith gesture (.4).
 12/27/2022           V. Driver   B190/   Call with team on 2004 draft                     1.80
                                              request for all documents
                                              turned over to SubV Trustee
                                              (.9); emails to committee
                                              counsel on information
                                              published by Plaintiff's
                                              counsel on website and seek
                                              good faith gesture (.9).
 12/27/2022           A. Gerard   B160/   Investigate potential federal or                 1.00
                                             local requirement for debtor
                                             signature on employment
                                             application(s).
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                                                                                     Vickie L. Driver
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 12/27/2022           C. Stephenson   B110/   Review and analyze comments of                   0.60
                                                 UCC to Utility motion (.2);
                                                 draft correspondence
                                                 regarding same (.1); review
                                                 and respond to
                                                 correspondence from utility
                                                 provider (.3).
 12/27/2022           C. Stephenson   B110/   Draft correspondence regarding                   0.50
                                                 agreed withdrawals and
                                                 analysis regarding same.
 12/27/2022           C. Stephenson   B160/   Review and analyze comments of                   1.90
                                                 UCC to employment
                                                 application and Interim Comp
                                                 Procedures (.8); draft
                                                 correspondence regarding
                                                 same (.3); review and respond
                                                 to multiple professional
                                                 correspondence regarding
                                                 employment application (.8).
 12/27/2022           C. Stephenson   B190/   Call with lender's counsel                       1.40
                                                  regarding various matters
                                                  including information
                                                  requests and related
                                                  correspondence.
 12/28/2022           C. Craig        B110/   Multiple attempts to return phone                0.40
                                                 call from utility provider
                                                 regarding Utility Motion (.2);
                                                 draft email correspondence
                                                 regarding same (.2).
 12/28/2022           V. Driver       B120/   Call with BB Advisors on status                  1.20
                                                  of information gathering and
                                                  items needed to complete
                                                  schedules, statements, and
                                                  MOR (.9); emails to FSS
                                                  counsel on access to
                                                  information (.2); message to
                                                  SubV trustee on access to
                                                  information (.1).
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                                                                                      Vickie L. Driver
Post - petition

 12/28/2022           V. Driver       B190/   Emails with co-counsel regarding                  0.20
                                                2004 request and
                                                confidentiality order in
                                                SDTX.
 12/28/2022           V. Driver       B210/   Calls with client on FSS needs                    0.60
                                                  and operational issues (.2);
                                                  emails same to BB Advisors
                                                  to discuss with FSS CRO and
                                                  staff. (.4).
 12/28/2022           C. Stephenson   B110/   Attention to utility                              0.60
                                                  correspondence.
 12/28/2022           C. Stephenson   B210/   Prepare for and attend call with B.               1.60
                                                 Schleizer and H. Kessler
                                                 regarding financial issues.
 12/28/2022           E. Weaver       B110/   Review dallaseservice inbox and                   0.20
                                                 circulate correspondence.
 12/28/2022           E. Weaver       B110/   Email correspondence to team                      0.10
                                                regarding post-petition matter
                                                available now for time entry.
 12/29/2022           C. Craig        B160/   Draft application to employ                       0.80
                                                 Blackbriar Advisors LLC as
                                                 Debtor's financial advisors
                                                 (.3); prepare exhibits to same
                                                 (.3); and file application and
                                                 exhibits (.2).
 12/29/2022           V. Driver       B110/   Discuss upcoming deadlines with                   0.70
                                                 client and progress towards
                                                 completing schedules,
                                                 statements, and MORs.
 12/29/2022           C. Stephenson   B160/   Draft correspondence regarding                    0.40
                                                 status and completion of
                                                 employment application for
                                                 various professionals.
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Matter #          00802                                                            Responsible Attorney
                                                                                       Vickie L. Driver
Post - petition

 12/29/2022           C. Stephenson   B185/   Draft correspondence regarding                     0.50
                                                 executory contract analysis
                                                 research issues.
 12/29/2022           C. Stephenson   B190/   Draft and review correspondence                    1.10
                                                 regarding discovery issues
                                                 related to information needed
                                                 to complete schedules and
                                                 related motion to compel.
 12/30/2022           C. Craig        B110/   Review correspondence from                         0.30
                                                 utility provider regarding
                                                 Utility Motion (.1); analyze
                                                 debtor's utility information to
                                                 develop response to inquiry
                                                 (.1); draft correspondence to
                                                 utility provider providing
                                                 requested information (.1).
 12/30/2022           C. Craig        B160/   Review Free Speech Systems                         1.10
                                                 filings to employ Appellate
                                                 Counsel (.8); Draft
                                                 corresponding application to
                                                 employ appellate counsel (.3).
 12/30/2022           C. Craig        B160/   Exchange correspondence with                       0.20
                                                 tax accountant regarding
                                                 approval of her declaration in
                                                 support of Application to
                                                 Employ Rachel Kennerly,
                                                 LLC as tax accountant.
 12/30/2022           C. Craig        B160/   Draft application to employ                        0.40
                                                 Rachel Kennerly, LLC as tax
                                                 accountant and proposed
                                                 order granting same (.2); and
                                                 e-file application and exhibits
                                                 (.2).
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Client #          50134                                                            Invoice # 748460
Matter #          00802                                                         Responsible Attorney
                                                                                    Vickie L. Driver
Post - petition

 12/30/2022           V. Driver       B150/   Review lengthy letter on multiple               1.50
                                                 issues from potential creditors
                                                 committee counsel (.4); begin
                                                 response to same (.5); emails
                                                 with Akin seeking discussion
                                                 of letter (.2); analyze
                                                 committee appointment when
                                                 all constituents are personally
                                                 represented by multiple law
                                                 firms in case (.4).
 12/30/2022           V. Driver       B190/   Review and analyze last week                    0.40
                                                 FSS Sales Reconciliation.
 12/30/2022           V. Driver       B190/   Review mediation protective and                 0.70
                                                 confidentiality order and
                                                 approve same.
 12/30/2022           A. Gerard       B185/   Complete email memorandum on                    2.00
                                                potential executory nature of
                                                prenuptial agreements and
                                                potential need for assumption
                                                or rejection of same.
 12/30/2022           A. Gerard       B190/   Draft motion to compel                          2.60
                                                 production of documents from
                                                 PQPR and proposed order.
 12/30/2022           C. Stephenson   B160/   Review and respond to                           0.90
                                                 correspondence regarding
                                                 Application to employ Tax
                                                 professional (.5); call with
                                                 counsel regarding same (.4).
 12/30/2022           C. Stephenson   B185/   Review and respond to court                     0.50
                                                 correspondence regarding
                                                 Motion to fix a date to
                                                 Assume or Reject executory
                                                 contract (.3); draft related
                                                 correspondence (.2).
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Matter #          00802                                                               Responsible Attorney
                                                                                          Vickie L. Driver
Post - petition

 12/30/2022              C. Stephenson    B190/     Review revised mediation order                  0.40
                                                       (.2); review and respond to
                                                       related correspondence (.2).
 12/30/2022              C. Stephenson    B190/     Conference call and related                     1.30
                                                       correspondence regarding
                                                       discovery requests and
                                                       ongoing information
                                                       gathering matters.
                                                                         Total Hours              353.40

 Total Fees for this Invoice                                                                $212,274.00




                                         SUMMARY OF TASKS
                                                                      Task
                  Task          Hours        Amount                 Description
                  B110          153.30      89,163.50    Bankruptcy - Case
                                                         Administration
                  B120           32.30      20,593.50    Bankruptcy - Asset Analysis and
                                                         Recovery
                  B140           21.40      13,327.00    Bankruptcy - Relief from
                                                         Stay/Adequate Protection
                                                         Proceedings
                  B150           13.30       9,909.50    Bankruptcy - Meetings of and
                                                         Communications with Creditors
                  B160           47.60      26,710.00    Bankruptcy - Fee/Employment
                                                         Applications
                  B185           15.60       9,291.00    Bankruptcy -
                                                         Assumption/Rejection of Leases
                                                         and Contracts
                  B190           24.80      13,395.00    Bankruptcy - Other Contested
                                                         Matters (excluding
                                                         assumption/rejection motions)
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Client #          50134                                                                   Invoice # 748460
Matter #          00802                                                                Responsible Attorney
                                                                                           Vickie L. Driver
Post - petition

                                        SUMMARY OF TASKS
                                                                        Task
                  Task         Hours          Amount                  Description
                  B195         11.10          6,754.50     Bankruptcy - Non-Working
                                                           Travel
                  B210         13.60          9,068.00     Bankruptcy - Business
                                                           Operations
                  B230         12.30          8,442.50     Bankruptcy - Financing/Cash
                                                           Collections
                  B240           3.90         2,542.50     Bankruptcy - Tax Issues
                  B310           1.30           929.50     Bankruptcy - Claims
                                                           Administration and Objections
                  B320           2.90         2,147.50     Bankruptcy - Plan and
                                                           Disclosure Statement (including
                                                           Business Plan)
                  Total       353.40      $212,274.00



12/02/2022         Legal Pro Systems for Opening Bankruptcy Case                                   $85.52

12/02/2022         Texas Southern Bankruptcy Court for filing fee for Bankruptcy Case            1,738.00

12/07/2022         Stephenson, Christina reimbursement of travel expense to Houston,               129.00
                   Texas for client meeting 12/7/2022; lodging $129.00

12/08/2022         Driver, Vickie reimbursement of travel expense to Houston, Texas              1,647.48
                   for client meeting 12/5-8/2022; lodging $1647.48

12/13/2022         Driver, Vickie reimbursement of travel expenses to Austin Texas for             149.92
                   client meeting 12/13/2022; transportation $20.92 and lodging
                   $129.00

12/15/2022         Driver, Vickie reimbursement for travel expenses to Austin Texas for            129.00
                   client meeting 12/15/2022; lodging $129.00

         Subtotal of Expenses                                                                   $3,878.92
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Matter #          00802                                                         Responsible Attorney
                                                                                    Vickie L. Driver
Post - petition



                              SUMMARY OF DISBURSEMENTS
                          Task                                   Task
                          Code       Amount                   Description
                          E110       2,055.40    Out-of-town travel
                          E112       1,738.00    Court fees
                          E123         85.52     Other professionals
                          Total     $3,878.92



Total For This Invoice                                                                    $216,152.92


                                  SUMMARY OF FEES
                                        Hours         Hourly                      Bill
                   Name                Worked           Rate                   Amount
      V. Driver                         103.00        795.00                  81,885.00
      C. Stephenson                     121.60        715.00                  86,944.00
      E. Weaver                          39.80        295.00                  11,741.00
      A. Gerard                          35.00        345.00                  12,075.00
      N. Collins                          3.70        615.00                   2,275.50
      C. Craig                           50.30        345.00                  17,353.50
      Total                             353.40                              $212,274.00
